


3-00-0515






No. 3--00--0515

_________________________________________________________________



IN THE

APPELLATE COURT OF ILLINOIS

THIRD DISTRICT



A.D., 2001



THE PEOPLE OF THE STATE 		)	Appeal from the Circuit Court

OF ILLINOIS,				) &nbsp;&nbsp;&nbsp;of the 10
th
 Judicial Circuit

)	Peoria County, Illinois

Plaintiff-Appellee,		)

)	

 &nbsp;&nbsp;&nbsp;v.			)	No. 00-CF-176

)	

ELVIS MCNAIR,				)	Honorable

)	Donald Courson,

Defendant-Appellant.	)	Judge Presiding.



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JUSTICE SLATER delivered the opinion of the court:

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The defendant, Elvis McNair, was convicted of child pornography (720 ILCS 5/11--20.1 &nbsp;(West 2000)). &nbsp;He was sentenced to a four-year term of imprisonment and ordered to pay a $2,000 fine. &nbsp;On appeal, the defendant argues that he is entitled to a $270 credit toward his fine to reflect 54 days of pre-sentence credit. &nbsp;In response, the State argues that the defendant is not entitled to credit for 52 of his 54 days of pre-sentence custody because his offense became "non-bailable" upon conviction. &nbsp;We remand this cause for a $270 credit to be applied. 

The defendant was arrested on February 16, 2000. &nbsp;He was released on bond the next day. &nbsp;He remained on bond until the jury returned its guilty verdict on May&nbsp;3, 2000. &nbsp;The State then moved to revoke the defendant’s bond. &nbsp;After a hearing, the court found that the defendant had failed to show by clear and convincing evidence that he posed no danger to anyone. Therefore, the court revoked the defendant’s bond. &nbsp;He was sentenced on June&nbsp;23, 2000. 

On appeal, the defendant argues that he is entitled to a credit of $270 against the fine imposed on him since, by law, he may claim a $5-a-day credit for each of the 54 days of pre-sentence custody. &nbsp;See 725 ILCS 5/110--14 (West 2000). &nbsp;In response, the State notes that the defendant was subject to a minimum four-year term of imprisonment because of a prior Class 2 felony conviction. &nbsp;See 730 ILCS 5/5--5--3(c)(2)(F) (West 2000). &nbsp;Therefore, it argues, when the defendant was convicted of child pornography that offense became non-probationable, and therefore, non-bailable. &nbsp;

Illinois law provides that any person incarcerated on a bailable offense who does not supply bail and against whom a fine is levied upon conviction shall be allowed a $5-a-day credit for each day incarcerated. &nbsp;725 ILCS 5/110--14 (West 2000). &nbsp;Section 110--14 does not make a distinction between defendants who are financially unable to post bond and those who are denied the opportunity to post bond by the trial court. &nbsp;
People v. Raya
, 250 Ill. App. 3d 795, 621 N.E.2d 222 (1993). &nbsp;The statute also does not prohibit the award of credit for the time between a jury verdict and sentencing. &nbsp;
Raya
, 250 Ill. App. 3d 795, 621 N.E.2d 222.

The defendant is entitled to credit toward his fine for 54 days of pre-sentence custody. &nbsp;The State cites no authority for the proposition that an offense becomes "non-bailable" once a defendant is convicted of an offense for which probation is not available. &nbsp;Further, 
this court has rejected a similar argument in the past. &nbsp;See 
People v. Raya,
 250 Ill. &nbsp;App. 3d 795, 621 N.E.2d 222 (1993) (court rejected contention that once a defendant’s bond is revoked after a guilty verdict he is no longer incarcerated on a bailable offense). &nbsp;Therefore, we remand this cause for the trial court to award the defendant a $270 credit toward his fine to reflect 54 days of pre-sentence custody.

The judgment of the circuit court of Peoria County is remanded.

Remanded.

HOMER, P.J., and LYTTON, J., concur.


